         Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 1 of 16




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
 COREY TWIGG AND LORI TWIGG, H/W,                   :
                       Plaintiffs,                  : Civil Action
                                                    :
 v.                                                 : No. 2:21-cv-007680-MSG
                                                    :
 VARSITY BRANDS HOLDING CO., INC; BSN               : Jury Trial Demanded
 SPORTS INC.; SPORT SUPPLY GROUP, INC.;             :
 SPARTAN ATHLETIC COMPANY;                          :
 GARWARE TECHNICAL FIBRES LTD D/B/A                 :
 GOLD MEDAL ATHLETIC PRODUCTS,                      :
                         Defendants.                :
                                                    :

                                           ORDER

        AND NOW, this _____ day of December 2021, upon consideration of defendant,

Garware Technical Fibres Ltd., and any responses thereto, it is hereby ORDERED that Plaintiffs’

Complaint is hereby DISMISSED for improper service pursuant to Fed. R. Civ. P. 12(b)(5).

        IT IS FURTHER ORDERED that Plaintiffs’ claim for punitive damages is hereby

DISMISSED WITHOUT PREJUDICE pursuant to Fed. R. Civ. P. 12(b)(6).



                                           _________________________________________
                                           THE HONORABLE MITCHELL S. GOLDBERG




262192967v.1
          Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 2 of 16




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
 COREY TWIGG AND LORI TWIGG, H/W,                     :
                       Plaintiffs,                    : Civil Action No. 21-768
                                                      :
 v.                                                   : Jury Trial Demanded
                                                      :
 VARSITY BRANDS HOLDING CO., INC; BSN                 :
 SPORTS INC.; SPORT SUPPLY GROUP, INC.;               :
 SPARTAN ATHLETIC COMPANY;                            :
 GARWARE TECHNICAL FIBRES LTD D/B/A                   :
 GOLD MEDAL ATHLETIC PRODUCTS,                        :
                         Defendants.                  :
                                                      :

      DEFENDANT, GARWARE TECHNICAL FIBRES LTD.’S MOTION TO DISMISS
       PLAINTIFFS’ COMPLAINT PURSUANT TO FED.R.C.P. 12(b)(5) and 12(b)(6)

         Defendant, Garware Technical Fibres Ltd. (“Garware”), by and through its attorneys,

Wilson Elser Moskowitz Edelman & Dicker LLP, hereby moves to dismiss plaintiffs, Corey and

Lori Twigg, h/w (“Plaintiffs”)’s Complaint pursuant to Federal Rule of Civil Procedure 12(b)(5)

and claim for punitive damages pursuant to Federal Rule of Civil Procedure 12(b)(6).

         1. This matter arises from a March 10, 2019 incident, involving Plaintiff, Corey Twigg,

an assistant baseball coach for Montoursville Area High School. See Plaintiffs’ Complaint,

generally, para. 18 – 19, attached hereto as Exhibit “A”.

         2. On March 10, 2019, Plaintiff was pitching indoor batting practice at an auxiliary gym

at Montoursville Area High School, 700 Mulberry Street, Montoursville, Lycoming County,

Pennsylvania. Id. at para. 20.

         3. While pitching, Plaintiff was seated behind a Collegiate L-Screen W/Hood covered




262192967v.1
           Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 3 of 16




with a Polyethylene safety net (“Netting”), when a baseball penetrated the Netting and struck

Plaintiff in the right eye (“Incident”). The injury ultimately required enucleation of the eye. Id. at

para. 20, 33.

        4. As a result of the Incident, Plaintiff allegedly sustained permanent and severe scarring

and disfigurement, lost wages and earning capacity, incurred substantial medical expenses, and

emotional distress. Id. at para. 35 – 39.

        5. According to Plaintiffs, Plaintiff’s injuries are the result of a defectively designed

and/or manufactured Netting and a failure to provide proper warnings and instructions for the use

of the Netting. Id. at para. 27 - 34.

        6. Plaintiffs initiated the instant action against Garware and defendants BSN Sports Inc.,

Sport Supply Group, Inc., Varsity Brand Holding Co., Inc., and Spartan Athletic Company on

February 19, 2021. Id., generally. Plaintiffs allege Garware manufactured the Netting, and co-

defendants marketed and distributed and/or sold the Netting. Id. at para. 6 – 10, 14 – 15.

        7. Plaintiffs brought claims of strict product liability, negligence, and loss of

consortium, against defendants, specifically alleging defendants failed to provide proper

warnings and instructions, defectively designed and manufactured the Netting, and negligently

designed, manufactured, tested, inspected, packaged, labeled, marketed, and distributed the

Netting.

        8. Plaintiffs also assert a claim for punitive damages, alleging defendants “willfully and

deliberately” failed to avoid the “probable consequences of the dangerous and defective

polyethylene safety netting material and Collegiate L-Screen, and acted with “conscious

indifference, indifference to and/or flagrant disregard of the safety of persons who might

foreseeably have been harmed by” the Netting. Id. at para. 62 – 63.




262192967v.1
         Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 4 of 16




        9. At all times material hereto, Garware was an Indian technical textiles company, with

a principal place of business of Plot No 11, Block D1, M.I.D.C., Chinchwad, Pune – 411019,

Maharashtra, India.

        10. On September 30, 2021, Plaintiffs filed a Proof of Service, which stated a Summons

in the instant action had been served upon Garware on September 9, 2021 at its headquarters in

India, by personal server Mahalingam Arumugam. See Proof of Service with accompanying

Summons, attached hereto as Exhibit “B”.

        11. Garware now moves to dismiss Plaintiffs’ Complaint pursuant to the Federal Rules of

Civil Procedure 12(b)(5) and 12(b)(6) and incorporates by reference its arguments set forth in its

accompanying brief, as if set forth at length herein.

        WHEREFORE, defendant Garware Technical Fibres Ltd., respectfully requests that this

Honorable Court dismiss Plaintiffs’ Compliant for improper service pursuant to Federal Rule of

Civil Procedure 12(b)(5) and dismiss Plaintiffs’ claim for punitive damages without prejudice

pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                              WILSON ELSER MOSKOWITZ EDELMAN &
                                              DICKER LLP

                                      By:     s/ M. Susan Toth_______________
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                                              M. Susan Toth, Esquire
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                                              Attorneys for Defendants,
                                              Garware Technical Fibres Ltd.

Date: November 30, 2021


262192967v.1
            Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 5 of 16




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                         :
 COREY TWIGG AND LORI TWIGG, H/W,                        :
                       Plaintiffs,                       : Civil Action No. 21-768
                                                         :
 v.                                                      : Jury Trial Demanded
                                                         :
 VARSITY BRANDS HOLDING CO., INC; BSN                    :
 SPORTS INC.; SPORT SUPPLY GROUP, INC.;                  :
 SPARTAN ATHLETIC COMPANY;                               :
 GARWARE TECHNICAL FIBRES LTD D/B/A                      :
 GOLD MEDAL ATHLETIC PRODUCTS,                           :
                         Defendants.                     :
                                                         :

  BRIEF IN SUPPORT OF DEFENDANT, GARWARE TECHNICAL FIBRES LTD.’S
   MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FEDERAL
             RULES OF CIVIL PROCEDURE 12(b)(5) AND 12(b)(6)

           Defendant, Garware Technical Fibres Ltd. (“Garware”), by and through its attorneys,

Wilson Elser Moskowitz Edelman & Dicker LLP, hereby submits its brief in support of its

motion to dismiss plaintiffs, Corey and Lori Twigg, h/w (“Plaintiffs”)’s Complaint pursuant to

Federal Rules of Civil Procedure 12(b)(5) and 12(b)(6).

      I.       Introduction

           This matter arises from a March 10, 2019 incident, in which Plaintiff, Corey Twigg, was

struck in his right eye by a baseball, while pitching indoor batting practice at Montoursville Area

High School, 700 Mulberry Street, Montoursville, Lycoming County, Pennsylvania (“Incident”).

See Plaintiffs’ Complaint, generally, para. 18 – 19, attached hereto as Exhibit “A”. Plaintiff’s

injury to his right eye ultimately required surgical amputation of the eye. Id. at para. 33.

According to Plaintiff’s Complaint, Plaintiff was seated behind a Collegiate L-Screen W/Hood

covered with a polyethylene safety net (“Netting”), throwing indoor batting practice, when a

baseball ripped through the Netting, striking Plaintiff in the right eye. Id. at para. 20, 33.



262192967v.1
            Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 6 of 16




According to Plaintiffs, the netting was dangerous and defective, and failed to perform as

intended, thereby causing Plaintiff’s injuries. Id. at para. 24 – 34. Plaintiffs initiated the instant

action against Garware, as the Netting manufacturer, and defendants BSN Sports Inc., Sport

Supply Group, Inc., Varsity Brand Holding Co., Inc., and Spartan Athletic Company, the

distributors of the Netting, on February 19, 2021, alleging claims of negligence, strict products’

liability, and punitive damages. Garware now moves to dismiss Plaintiffs’ Complaint pursuant to

the Federal Rules of Civil Procedure 12(b)(5) and 12(b)(6).

    II.        Matter Before the Court

           The motion to dismiss pursuant to Federal Rules of Civil Procedure 12(b)(5) and

12(b)(6) of defendant, Garware Technical Fibres Ltd.

    III.       Statement of Questions Involved

               1. Whether Plaintiff’s Complaint should be dismissed for improper service pursuant

to Federal Rule of Civil Procedure 12(b)(5)?

                  Suggested Answer: Yes.

               2. Whether Plaintiff’s claim for punitive damages should be dismissed from his

Complaint for failure to state a claim that is plausible on its face pursuant to Federal Rule of

Civil Procedure 12(b)(6)?

                  Suggested Answer: Yes.

    IV.        Relevant Facts

           At all times material hereto, Plaintiff, Corey Twigg, was a sixth grade teacher with the

Montoursville School District and an assistant baseball coach at Montoursville Area High

School. See Exhibit “A”, para. 19.




262192967v.1
         Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 7 of 16




        At all times material hereto, moving defendant Garware was an Indian technical textiles

company, with a principal place of business at Plot No 11, Block D1, M.I.D.C., Chinchwad,

Pune – 411019, Maharashtra, India.

        On March 10, 2019, Plaintiff was pitching indoor batting practice at an auxiliary gym

while seated behind a Collegiate L-Screen W/Hood covered with a Polyethylene safety net

(“Netting”). Id. at para. 20. While pitching, a baseball penetrated the Netting and struck Plaintiff

in the right eye causing injury to his right eye, which ultimately required enucleation of the eye

(“Incident”). Id. at para. 33. As a result of the Incident, Plaintiff allegedly sustained permanent

and severe scarring and disfigurement, lost wages and earning capacity, incurred substantial

medical expenses, and emotional distress. Id. at para. 35 – 39. According to Plaintiffs, Plaintiff’s

injuries are the result of a defectively designed and/or manufactured Netting and a failure to

provide proper warnings and instructions for the use of the Netting. Id. at para. 27 - 34.

        On February 19, 2021, Plaintiffs initiated the instant action against Garware and

defendants BSN Sports Inc., Sport Supply Group, Inc., Varsity Brand Holding Co., Inc., and

Spartan Athletic Company. Plaintiffs allege Garware manufactured the Netting, and co-

defendants marketed and distributed and/or sold the Netting. Id. at para. 6 – 10, 14 – 15.

Plaintiffs brought claims of strict product liability, negligence, and loss of consortium, against

defendants, specifically alleging defendants failed to provide proper warnings and instructions,

defectively designed and manufactured the Netting, and negligently designed, manufactured,

tested, inspected, packaged, labeled, marketed, and distributed the Netting. Plaintiffs also assert a

claim for punitive damages, alleging defendants “willfully and deliberately” failed to avoid the

“probable consequences of the dangerous and defective polyethylene safety netting material and

Collegiate L-Screen, and acted with “conscious indifference, indifference to and/or flagrant




262192967v.1
          Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 8 of 16




disregard of the safety of persons who might foreseeably have been harmed by” the Netting. Id.

at para. 62 – 63.

         On September 30, 2021, Plaintiffs filed a Proof of Service, which stated a Summons in

the instant action had been served upon Garware on September 9, 2021 at its headquarters in

India, by personal server Mahalingam Arumugam. See Proof of Service with accompanying

Summons, attached hereto as Exhibit “B”.

    V.         Argument

               A. Plaintiffs’ complaint must be dismissed for insufficient service of process
                  pursuant to Fed. R. Civ. P. 12(b)(5)

         A federal court may dismiss a complaint for "insufficient service of process." Fed. R. Civ.

P. 12(b)(5). "[T]he party asserting the validity of service bears the burden of proof on that

issue." Neopart Transit, LLC v. CBM N.A., 314 F. Supp. 3d 628, 635 (E.D. Pa. 2018)(quoting

Grand Entm't Group, Ltd. v. Star Media Sales, Inc., 988 F.2d 476, 488 (3d Cir. 1993)). See

also Haim v. Eagle Group Int’l, LLC, 2008 U.S. Dist. LEXIS 103551, * 6 (E.D. Pa. 2008); White

v. Green, 2009 U.S. Dist. LEXIS 92999, 2009 WL 3209647, at *1 (E.D. Pa. Oct. 6, 2009) ("In

resolving a motion under Rule 12(b)(5), the party making the service has the burden of

demonstrating its validity when an objection to service has been made."), aff'd, 382 F. App'x 199

(3d Cir. 2010). “In addressing such motions, the courts have broad discretion to dismiss the

action or to retain the case but quash the service that has been made on defendant[s].” Haim,

supra.

         Service of Process is governed by Federal Rule of Civil Procedure 4. Specifically, an

individual or corporation “may be served at a place not within any judicial district of the United

States, by an internationally agreed means of service that is reasonably calculated to give notice,

such as those authorized by the Hague Convention on the Service Abroad of Judicial and



262192967v.1
         Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 9 of 16




Extrajudicial Documents." Fed. R. Civ. P. 4(f)(1) (“Hague Convention”). The Hague Convention

governs service of process on a foreign corporation by providing methods of serving judicial and

extrajudicial documents that the signatories to the treaty have agreed to honor. DeJames v.

Magnificence Carriers, Inc., 654 F.2d 280, 288 (3d Cir. 1981)). Specifically, the Hague

Convention provides that each signatory shall designate a Central Authority to process requests

for service from other contracting States. Id. See also Hague Convention, art. 2, Entered into

Force for the United States, Feb. 10, 1969, 20 U.S.T. 361, 658 U.N.T.S. 163. Pursuant to the

Hague Convention, the documents shall be forwarded to the Central Authority of the State

receiving the process, which will then serve the document itself or arrange to have it served by

an appropriate agency, either: (a) by a method prescribed by its internal law for the service of

documents in domestic actions upon persons who are within its territory, or (b) by a particular

method requested by the applicant, unless such a method is incompatible with the law of the

State addressed. Knit With v. Knitting Fever, Inc., 2010 U.S. Dist. LEXIS 70412, *14 (E.D. Pa.

2010)(citing Hague Convention, arts. 3, 5). However, it also allows service to be effected

without utilizing the Central Authority as long as the nation receiving service has not objected to

the method used. DeJames, 654 F.2d at 288. Thus, the more liberal methods provided in the

Federal Rules of Civil Procedure and state long-arm rules may be used as long as the nation

receiving service has not objected to them. Id.

        According to the U.S. Department of State, service of process against a foreign

corporation in India is according to the following terms:

               India is a party to the Hague Convention on the Service Abroad of Judicial and
               Extra Judicial Documents in Civil and Commercial Matters. . . Requests should
               be completed in duplicate and submitted with two sets of the documents to be
               served, and translations, directly to India’s Central Authority for the Hague
               Service Convention. The person in the United States executing the request form
               should be either an attorney or clerk of court. . . In its Declarations and



262192967v.1
        Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 10 of 16




                  Reservations on the Hague Service Convention, India formally objected to service
                  under Article 10, and does not permit service via postal channels. . .

https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-Information/ India.

html (last visited November 29, 2021). Further, pursuant to its objections to service under

Article 10, India does not permit “service of judicial documents directly through the judicial

officers, officials or other competent persons.” https://www.hcch.net/index.cfm?oldlang =en &

act=authorities.details&aid=712 (last visited November 29, 2021); Hague Convention art. 10(a)

– (c). Thus, service of process must be effectuated through the Indian Central Authority. Id.

        Here, according to the Proof of Service, Plaintiffs engaged a private process server to

serve the Complaint upon Garware. Plaintiffs did not effectuate service of the Complaint through

the Indian Central Authority as required by Federal Rule of Civil Procedure 4(f)(1) and the

Hague Convention. As Plaintiffs failed to effectuate service of the Complaint through the Indian

Central Authority, service of the Complaint upon Garware is improper. Accordingly, Plaintiff’s

Complaint must be dismissed for improper service pursuant to Federal Rule of Civil Procedure

12(b)(5).

               B. Plaintiffs claim for punitive damages must be dismissed pursuant to Fed. R.
                  Civ. P. 12(b)(6) as it fails to state a claim that is plausible on its face_______

        A motion to dismiss should be granted under Rule 12(b)(6) if the moving party "under

any reasonable reading of the complaint . . . may be entitled to relief." Kerchner v. Obama, 612

F.3d 204, 207 (3d Cir. 2010)(internal quotations omitted).

        To survive a motion to dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6),

a complaint must contain sufficient factual allegations that "state a claim to relief that is plausible

on its face." Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). Indeed, “a pleading

offering ‘only labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of




262192967v.1
        Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 11 of 16




action will not do.’” Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009)(quoting

Twombly, 550 U.S. at 555)).

        In Ashcroft v. Iqbal, the Supreme Court made “clear that the Twombly ‘facial plausibility’

pleading requirement applies to all civil suits in the federal courts.” Fowler, 578 F.3d at 210;

Ashcroft v. Iqbal, 129 S. Ct. 1937 (2009). Indeed, the “Supreme Court’s opinion in Iqbal extends

the reach of Twombly, instructing that all civil complaints must contain ‘more than an unadorned,

the defendant-unlawfully-harmed-me accusation.’” Id. (quoting Iqbal, 129 S.Ct. at 1949)). After

Iqbal, it is clear that conclusory or ‘bare-bones’ allegations will no longer survive a motion to

dismiss” Fowler, 578 F.3d at 210. To prevent dismissal, all civil complaints must now set out

“sufficient factual matter” to show that the claim is facially plausible. This then “allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

(quoting Iqbal, 129 S.Ct. at 1948).

        When presented with a motion to dismiss for failure to state a claim, district courts should

conduct a two-part analysis:

               First, the factual and legal elements of a claim should be separated. The District
               Court must accept all of the complaint’s well-pleaded facts as true, but may
               disregard any legal conclusions. Second a District Court must then determine
               whether the facts alleged in the complaint are sufficient to show that the plaintiff
               has a plausible claim for relief. In other words, a complaint must do more than
               allege the plaintiff’ entitlement to relief. A complaint has to show such an
               entitlement with its facts. As the Supreme Court instructed in Iqbal, where the
               well-pleaded facts do not permit the court to infer more than the mere possibility
               of misconduct, the complaint has alleged –but it has not shown –that the pleader
               is entitled to relief.

Fowler, 578 F.3d 203, 210-211. (internal citations and quotations omitted).

        In deciding a motion to dismiss under Rule 12(b)(6), a court must "accept all factual

allegations in the complaint as true and view them in the light most favorable to the plaintiff."

Williamsburg Commons Condo Ass’n. v. State Farm Fire & Cas. Co., 907 F.Supp. 2d 673,



262192967v.1
          Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 12 of 16




680 (E.D.Pa. 2012)(quoting Buck v. Hampton Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir.

2006). This "assumption of truth" is "inapplicable to legal conclusions." Id. (quoting Iqbal,

129 S.Ct. at 1949-50).

          A federal court sitting in a diversity case applies the substantive law of the state in which

it sits. Gasperini v. Center for Humanities, Inc., 518 U.S. 415, 427 (1987)(citing Erie R.R. v.

Tompkins, 304 U.S. 64, 78 (1938)). As such, Pennsylvania substantive law applies to the instant

matter.

          Under Pennsylvania law, punitive damages are an “extreme remedy” available in only the

most exceptional matters. Phillips v. Cricket Lighters, 584 Pa. 179, 189, 883 A.2d 439, 445 (Pa.

2005). They are a rarely used and strictly controlled remedy to deter and punish extreme and

egregious behavior. Gibson v. Express Scripts, Inc., 2004 U.S. Dist. LEXIS 20069, *3 (E.D. Pa.

2004)(applying Pennsylvania law)(citing Martin v. Johns-Manville Corporation, 508 Pa. 154,

169, 494 A.2d 1088, 1096 (Pa. 1985)).

          In adopting the Restatement (Second) of Torts regarding the imposition of punitive

damages, the Pennsylvania Supreme Court has explained “punitive damages may be awarded for

conduct that is outrageous, because of the defendant’s evil motive or his reckless indifference to

the rights of others. Punitive damages must be based on conduct which is ‘malicious’, ‘wanton’,

‘reckless’, ‘willful’, or ‘oppressive’...” Feld v. Merriam, 506 Pa. 383, 395-96, 485 A.2d 742, 747

(Pa. 1984). In deciding whether punitive damages should be assessed, the nature of the act itself,

together with the alleged tortfeasor’s motive, the relationship between the parties, and all other

circumstances should be taken into account. Feld, 506 Pa. at 396, 485 A.2d at 748. The state of

mind of the actor is vital. “The act, or failure to act, must be intentional, reckless or malicious.”

Id.




262192967v.1
        Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 13 of 16




        As such, “ordinary negligence, involving inadvertence, mistake or error of judgment will

not support an award of punitive damages.” Hutchinson v. Penske Truck Leasing Co., 2005 Pa.

Super. 179, 876 A.2d 978, 983-84 (Pa. Super. 2005), aff’d, 592 Pa. 38, 922 A.2d 890 (Pa. 2007).

Rather, the plaintiff must adduce evidence which goes beyond a showing of negligence, evidence

sufficient to establish that the defendant’s acts were intentional and reckless. Phillips, 584 Pa. at

189, 883 A.2d at 446.

       In order to sustain a claim for punitive damages, a plaintiff must establish that “the

defendant knows, or has reason to know, of facts which create a high degree of risk of physical

harm to another, and deliberately proceeds to act in conscious disregard of, or indifference to,

that risk.” Burke v. Maassen, 904 F.2d 178, 181 (3d Cir. 1990)(applying Pennsylvania

law). Since “[T]he only purpose of punitive damages is to deter outrageous conduct[.] [I]t is

impossible to deter a person from taking risky action if he is not conscious of the risk. . . .

Therefore, an appreciation of the risk is a necessary element of the mental state required for the

imposition of such damages.” Id. at 182. (quoting Martin, 494 A.2d at 1097 n. 12). See also

Richetta v. Stanley Fastening Sys., L.P., 661 F.Supp. 2d 500, 513 (E.D. Pa. 2009)(internal

citations omitted)(In defining “reckless indifference”, Pennsylvania courts have noted that “an

appreciation of the risk [of harm] is a necessary element of the mental state required for the

imposition of punitive damages”). Accordingly, the mental state necessary to assess punitive

damages is “closer to an intentional act than the failure to appreciate the degree of risk from a

known danger.” SHV Coal, Inc. v. Continental Grain Co., 526 Pa. 489, 495, 587 A.2d 702, 704

(Pa. 1991).

        Plaintiffs’ claim for punitive damages rests solely on hollow allegations and is facially

implausible. While Plaintiffs allege defendants, including Garware, “willfully and deliberately”




262192967v.1
          Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 14 of 16




failed to avoid the “probable consequences of the dangerous and defective polyethylene safety

netting material and Collegiate L-Screen”, and acted with “conscious indifference, indifference

to and/or flagrant disregard of the safety of persons who might foreseeably have been harmed

by” the Netting, Id. at para. 62 – 63, such assertions are nothing more than boilerplate

accusations and the very “formulaic recitations” contemplated by Twombly. Plaintiffs fail to

provide any specific factual allegations that Garware acted with the malice or intent required to

establish “reckless”, “willful”, “wanton”, “deliberate” and “intentional” conduct necessary to

support a claim for punitive damages. At best, Plaintiffs’ allegations constitute nothing more

than an alleged mistake or error of judgment, and support nothing more than a claim for ordinary

negligence. Thus, Plaintiffs’ claim for punitive damages must be dismissed without prejudice

pursuant to Fed. R. Civ. P. 12(b)(6).

    VI.        Conclusion

          For the foregoing reasons, Plaintiffs failed to abide by the requirements of Federal Rule

of Civil Procedure 4(f)(1) and The Hague Convention in their service of the Complaint upon

Garware. Thus, service of the Complaint upon Garware is improper. Further, Plaintiffs’ claim for

punitive damages is grounded in nothing more than hollow, formulaic recitations, and thus,

facially implausible. Accordingly, Garware respectfully requests that this Honorable Court

dismiss Plaintiffs’ Complaint for improper service pursuant to Rule 12(b)(5) and dismiss

Plaintiffs’ claim for punitive damages pursuant to Rule 12(b)(6).

                                                Respectfully submitted,

                                                WILSON ELSER MOSKOWITZ EDELMAN &
                                                DICKER LLP

                                        By:     s/ M. Susan Toth_______________
                                                John T. Donovan, Esquire
                                                M. Susan Toth, Esquire


262192967v.1
        Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 15 of 16




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                                    Garware Technical Fibres Ltd.

Date: November 30, 2021




262192967v.1
        Case 2:21-cv-00768-MSG Document 18 Filed 11/30/21 Page 16 of 16




                                 CERTIFICATE OF SERVICE

        I, M. Susan Toth, Esquire, do hereby certify that a true and correct copy of the foregoing

Motion to Dismiss Plaintiffs’ Complaint, and accompanying Brief, was filed and served via

electronic filing notification, and electronic mail upon all counsel of record, and via First Class

Mail upon all unrepresented parties, on November 30, 2021 as follows:

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                                  and Sport Supply Group, Inc.

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                                     Unrepresented Defendant

                                              WILSON ELSER MOSKOWITZ EDELMAN &
                                              DICKER LLP

                                       By:    s/ M. Susan Toth_______________
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262192967v.1
